Case: 23-2030   Document: 00118129988      Page: 1       Date Filed: 04/08/2024   Entry ID: 6634402




                                Case No. 23-2030
      __________________________________________________________________

                        UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT

                                         __________

                                    LISA MENNINGER,

                                                            Plaintiff-Appellee,
                                               v.

                                PPD DEVELOPMENT, L.P.,

                                                           Defendant-Appellant,

                                         __________

                             On Appeal from a Judgement of the
                 United States District Court for the District of Massachusetts
                               Docket No. 1:19-cv-11441-LTS
                                         __________

                                     JOINT APPENDIX

                               Volume IV (JA2638 - JA2974)

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                                                    Dated: April 8, 2024

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                                              -1-
Case: 23-2030       Document: 00118129988                Page: 2         Date Filed: 04/08/2024             Entry ID: 6634402




                                             TABLE OF CONTENTS

      Contents                                                                                           Page(s)

                                                       VOLUME I

      District Court Docket ................................................................................... JA1

      Complaint and Demand for Jury Trial, dated
          July 28, 2019 [Dkt. 1] ........................................................................ JA25

      Affidavit of Chris Fikry, dated March 24, 2021 [Dkt. 51] .......................... JA55

      Order on PPD’s Motion for Summary Judgment and
            Menninger’s Motion to Strike, dated
            March 22, 2022 [Dkt. 81] .................................................................. JA63

      PPD Trial Brief, dated March 10, 2023 [Dkt. 114] ..................................... JA84

      Menninger Trial Brief, dated March 10, 2023 [Dkt. 118] ........................... JA139

      Charge to the Jury, dated March 30, 2023 [Dkt. 145] ................................. JA167

      Response to Court Order, dated March 30, 2023 [Dkt. 147] ....................... JA202

      Jury Verdict, dated March 31, 2023 [Dkt. 149] ........................................... JA204

      Trial Transcript Day 1, dated March 31, 2023 [Dkt. 151] ........................... JA209

      Trial Transcript Day 2, dated March 31, 2023 [Dkt. 152] ........................... JA299

      Trial Transcript Day 3, dated March 31, 2023 [Dkt. 153] ........................... JA404

      Trial Transcript Day 4, dated March 31, 2023 [Dkt. 154] ........................... JA558

      Trial Transcript Day 5, dated March 31, 2023 [Dkt. 155] ........................... JA716

      Trial Transcript Day 6, dated March 31, 2023 [Dkt. 156] ........................... JA872

      Trial Transcript Day 7, dated March 31, 2023 [Dkt. 157] ........................... JA1130
                                                                i
Case: 23-2030       Document: 00118129988                 Page: 3         Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Transcript Day 8, dated March 31, 2023 [Dkt. 158] ........................... JA1394

      Trial Transcript Day 9, dated March 31, 2023 [Dkt. 159] ........................... JA1553

      Trial Transcript Day 10, dated March 31, 2023 [Dkt. 160] ......................... JA1731

      Defendant’s Combined Memorandum of Law in support
           of Renewed Motion for Judgement,
           dated June 9, 2023 [Dkt. 181]............................................................ JA1869

      Plaintiff’s Opposition to Defendant’s Post-Trial Motion,
             dated July 7, 2023 [Dkt 186] ............................................................. JA1914

      Defendant’s Reply in Support of Renewed Motion,
           dated July 28, 2023 [Dkt. 189] .......................................................... JA1972

      Trial Exhibit 14 ............................................................................................ JA2000

      Trial Exhibit 17 ............................................................................................ JA2001

      Trial Exhibit 18 ............................................................................................ JA2002

      Trial Exhibit 19 ............................................................................................ JA2114

      Trial Exhibit 20 ............................................................................................ JA2120

      Trial Exhibit 21 ............................................................................................ JA2130

                                                       VOLUME II

      Trial Exhibit 23 ............................................................................................ JA2182

      Trial Exhibit 24 ............................................................................................ JA2256

                                                      VOLUME III

      Trial Exhibit 25 ............................................................................................ JA2297

      Trial Exhibit 26 ............................................................................................ JA2357

                                                               -ii-
Case: 23-2030       Document: 00118129988                 Page: 4         Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Exhibit 27 ............................................................................................ JA2395

      Trial Exhibit 33 ............................................................................................ JA2577

      Trial Exhibit 35 ............................................................................................ JA2579

      Trial Exhibit 41 ............................................................................................ JA2581

      Trial Exhibit 47 ............................................................................................ JA2582

      Trial Exhibit 48 ............................................................................................ JA2586

      Trial Exhibit 49 ............................................................................................ JA2589

      Trial Exhibit 50 ............................................................................................ JA2590

      Trial Exhibit 57 ............................................................................................ JA2594

      Trial Exhibit 58 ............................................................................................ JA2606

      Trial Exhibit 59 ............................................................................................ JA2615

      Trial Exhibit 60 ............................................................................................ JA2625

      Trial Exhibit 62 ............................................................................................ JA2628

      Trial Exhibit 67 ............................................................................................ JA2632

                                                      VOLUME IV

      Trial Exhibit 68 ............................................................................................ JA2638

      Trial Exhibit 69 ............................................................................................ JA2642

      Trial Exhibit 70 ............................................................................................ JA2647

      Trial Exhibit 73 ............................................................................................ JA2656

      Trial Exhibit 74 ............................................................................................ JA2662

                                                              -iii-
Case: 23-2030       Document: 00118129988                 Page: 5         Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Exhibit 75 ............................................................................................ JA2664

      Trial Exhibit 76 ............................................................................................ JA2665

      Trial Exhibit 80 ............................................................................................ JA2666

      Trial Exhibit 87 ............................................................................................ JA2667

      Trial Exhibit 90 ............................................................................................ JA2686

      Trial Exhibit 106 .......................................................................................... JA2688

      Trial Exhibit 109 .......................................................................................... JA2705

      Trial Exhibit 115 .......................................................................................... JA2709

      Trial Exhibit 118 .......................................................................................... JA2720

      Trial Exhibit 119 .......................................................................................... JA2725

      Trial Exhibit 121 .......................................................................................... JA2730

      Trial Exhibit 124 .......................................................................................... JA2732

      Trial Exhibit 125 .......................................................................................... JA2736

      Trial Exhibit 126 .......................................................................................... JA2738

      Trial Exhibit 132 .......................................................................................... JA2743

      Trial Exhibit 136 .......................................................................................... JA2756

      Trial Exhibit 139 .......................................................................................... JA2769

      Trial Exhibit 141 .......................................................................................... JA2774

      Trial Exhibit 142 .......................................................................................... JA2777

      Trial Exhibit 144 .......................................................................................... JA2779

                                                              -iv-
Case: 23-2030       Document: 00118129988                 Page: 6        Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Exhibit 146 .......................................................................................... JA2784

      Trial Exhibit 148 .......................................................................................... JA2785

      Trial Exhibit 154 .......................................................................................... JA2787

      Trial Exhibit 157 .......................................................................................... JA2788

      Trial Exhibit 167 .......................................................................................... JA2792

      Trial Exhibit 172 .......................................................................................... JA2797

      Trial Exhibit 174 .......................................................................................... JA2804

      Trial Exhibit 176 .......................................................................................... JA2809

      Trial Exhibit 180 .......................................................................................... JA2815

      Trial Exhibit 182 .......................................................................................... JA2819

      Trial Exhibit 186 .......................................................................................... JA2825

      Trial Exhibit 192 .......................................................................................... JA2829

      Trial Exhibit 194 .......................................................................................... JA2833

      Trial Exhibit 197 .......................................................................................... JA2838

      Trial Exhibit 200 .......................................................................................... JA2845

      Trial Exhibit 201 .......................................................................................... JA2848

      Trial Exhibit 213 .......................................................................................... JA2853

      Trial Exhibit 229 .......................................................................................... JA2856

      Trial Exhibit 231 .......................................................................................... JA2859

      Trial Exhibit 233 .......................................................................................... JA2861

                                                              -v-
Case: 23-2030       Document: 00118129988                 Page: 7        Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Exhibit 242 .......................................................................................... JA2862

      Trial Exhibit 244 .......................................................................................... JA2866

      Trial Exhibit 245 .......................................................................................... JA2868

      Trial Exhibit 261 .......................................................................................... JA2871

      Trial Exhibit 265 .......................................................................................... JA2879

      Trial Exhibit 271 .......................................................................................... JA2880

      Trial Exhibit 277 .......................................................................................... JA2883

      Trial Exhibit 290 .......................................................................................... JA2887

      Trial Exhibit 291 .......................................................................................... JA2889

      Trial Exhibit 300 .......................................................................................... JA2894

      Trial Exhibit 301 .......................................................................................... JA2899

      Trial Exhibit 320 .......................................................................................... JA2903

      Trial Exhibit 332 .......................................................................................... JA2907

      Trial Exhibit 333 .......................................................................................... JA2911

      Trial Exhibit 338 .......................................................................................... JA2912

      Trial Exhibit 350 .......................................................................................... JA2918

      Trial Exhibit 366 .......................................................................................... JA2923

      Trial Exhibit 373 .......................................................................................... JA2925

      Trial Exhibit 378 .......................................................................................... JA2926

      Trial Exhibit 392 .......................................................................................... JA2929

                                                              -vi-
Case: 23-2030       Document: 00118129988                 Page: 8        Date Filed: 04/08/2024              Entry ID: 6634402




      Trial Exhibit 394 .......................................................................................... JA2933

      Trial Exhibit 405 .......................................................................................... JA2940

      Trial Exhibit 433 .......................................................................................... JA2943

      Trial Exhibit 450 .......................................................................................... JA2946

      Trial Exhibit 454 .......................................................................................... JA2959

      Trial Exhibit 455 .......................................................................................... JA2960

      Trial Exhibit 456 .......................................................................................... JA2961

      Trial Exhibit 460 .......................................................................................... JA2969

      Notice of Appeal, dated November 29, 2023 [Dkt. 195]............................. JA2972

      CERTIFICATE OF SERVICE




                                                             -vii-
Case: 23-2030   Document: 00118129988   Page: 9   Date Filed: 04/08/2024   Entry ID: 6634402




                                        JA2638
Case: 23-2030   Document: 00118129988   Page: 10   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2639
Case: 23-2030   Document: 00118129988   Page: 11   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2640
Case: 23-2030   Document: 00118129988   Page: 12   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2641
Case: 23-2030   Document: 00118129988   Page: 13   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2642
Case: 23-2030   Document: 00118129988   Page: 14   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2643
Case: 23-2030   Document: 00118129988   Page: 15   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2644
Case: 23-2030   Document: 00118129988   Page: 16   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2645
Case: 23-2030   Document: 00118129988   Page: 17   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2646
Case: 23-2030   Document: 00118129988   Page: 18   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2647
Case: 23-2030   Document: 00118129988   Page: 19   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2648
Case: 23-2030   Document: 00118129988   Page: 20   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2649
Case: 23-2030   Document: 00118129988   Page: 21   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2650
Case: 23-2030   Document: 00118129988   Page: 22   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2651
Case: 23-2030   Document: 00118129988   Page: 23   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2652
Case: 23-2030   Document: 00118129988   Page: 24   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2653
Case: 23-2030   Document: 00118129988   Page: 25   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2654
Case: 23-2030   Document: 00118129988   Page: 26   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2655
Case: 23-2030   Document: 00118129988   Page: 27   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004406


                                         JA2656
Case: 23-2030   Document: 00118129988   Page: 28   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004407


                                         JA2657
Case: 23-2030   Document: 00118129988   Page: 29   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004408


                                         JA2658
Case: 23-2030   Document: 00118129988   Page: 30   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004409


                                         JA2659
Case: 23-2030   Document: 00118129988   Page: 31   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004410


                                         JA2660
Case: 23-2030   Document: 00118129988   Page: 32   Date Filed: 04/08/2024    Entry ID: 6634402
                                 CONFIDENTIAL




                                                                    PPD_MENNINGER 004411


                                         JA2661
Case: 23-2030   Document: 00118129988   Page: 33   Date Filed: 04/08/2024    Entry ID: 6634402




                                                                    PPD_MENNINGER 004451


                                         JA2662
Case: 23-2030   Document: 00118129988   Page: 34   Date Filed: 04/08/2024    Entry ID: 6634402




                                                                    PPD_MENNINGER 004452


                                         JA2663
Case: 23-2030   Document: 00118129988   Page: 35   Date Filed: 04/08/2024    Entry ID: 6634402




                                                                    PPD_MENNINGER 004448


                                         JA2664
Case: 23-2030   Document: 00118129988   Page: 36   Date Filed: 04/08/2024    Entry ID: 6634402




                                                                    PPD_MENNINGER 004436


                                         JA2665
Case: 23-2030   Document: 00118129988   Page: 37   Date Filed: 04/08/2024    Entry ID: 6634402




                                                                    PPD_MENNINGER 000052
CONFIDENTIAL
                                         JA2666
Case: 23-2030   Document: 00118129988   Page: 38   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2667
Case: 23-2030   Document: 00118129988   Page: 39   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2668
Case: 23-2030   Document: 00118129988   Page: 40   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2669
Case: 23-2030   Document: 00118129988   Page: 41   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2670
Case: 23-2030   Document: 00118129988   Page: 42   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2671
Case: 23-2030   Document: 00118129988   Page: 43   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2672
Case: 23-2030   Document: 00118129988   Page: 44   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2673
Case: 23-2030   Document: 00118129988   Page: 45   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2674
Case: 23-2030   Document: 00118129988   Page: 46   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2675
Case: 23-2030   Document: 00118129988   Page: 47   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2676
Case: 23-2030   Document: 00118129988   Page: 48   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2677
Case: 23-2030   Document: 00118129988   Page: 49   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2678
Case: 23-2030   Document: 00118129988   Page: 50   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2679
Case: 23-2030   Document: 00118129988   Page: 51   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2680
Case: 23-2030   Document: 00118129988   Page: 52   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2681
Case: 23-2030   Document: 00118129988   Page: 53   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2682
Case: 23-2030   Document: 00118129988   Page: 54   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2683
Case: 23-2030   Document: 00118129988   Page: 55   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2684
Case: 23-2030   Document: 00118129988   Page: 56   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2685
Case: 23-2030   Document: 00118129988   Page: 57   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2686
Case: 23-2030   Document: 00118129988   Page: 58   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2687
Case: 23-2030   Document: 00118129988   Page: 59   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2688
Case: 23-2030   Document: 00118129988   Page: 60   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2689
Case: 23-2030   Document: 00118129988   Page: 61   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2690
Case: 23-2030   Document: 00118129988   Page: 62   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2691
Case: 23-2030   Document: 00118129988   Page: 63   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2692
Case: 23-2030   Document: 00118129988   Page: 64   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2693
Case: 23-2030   Document: 00118129988   Page: 65   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2694
Case: 23-2030   Document: 00118129988   Page: 66   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2695
Case: 23-2030   Document: 00118129988   Page: 67   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2696
Case: 23-2030   Document: 00118129988   Page: 68   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2697
Case: 23-2030   Document: 00118129988   Page: 69   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2698
Case: 23-2030   Document: 00118129988   Page: 70   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2699
Case: 23-2030   Document: 00118129988   Page: 71   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2700
Case: 23-2030   Document: 00118129988   Page: 72   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2701
Case: 23-2030   Document: 00118129988   Page: 73   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2702
Case: 23-2030   Document: 00118129988   Page: 74   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2703
Case: 23-2030   Document: 00118129988   Page: 75   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2704
Case: 23-2030   Document: 00118129988   Page: 76   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2705
Case: 23-2030   Document: 00118129988   Page: 77   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2706
Case: 23-2030   Document: 00118129988   Page: 78   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2707
Case: 23-2030   Document: 00118129988   Page: 79   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2708
Case: 23-2030   Document: 00118129988   Page: 80   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2709
Case: 23-2030   Document: 00118129988   Page: 81   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2710
Case: 23-2030   Document: 00118129988   Page: 82   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2711
Case: 23-2030   Document: 00118129988   Page: 83   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2712
Case: 23-2030   Document: 00118129988   Page: 84   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2713
Case: 23-2030   Document: 00118129988   Page: 85   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2714
Case: 23-2030   Document: 00118129988   Page: 86   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2715
Case: 23-2030   Document: 00118129988   Page: 87   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2716
Case: 23-2030   Document: 00118129988   Page: 88   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2717
Case: 23-2030   Document: 00118129988   Page: 89   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2718
Case: 23-2030   Document: 00118129988   Page: 90   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2719
Case: 23-2030   Document: 00118129988   Page: 91   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2720
Case: 23-2030   Document: 00118129988   Page: 92   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2721
Case: 23-2030   Document: 00118129988   Page: 93   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2722
Case: 23-2030   Document: 00118129988   Page: 94   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2723
Case: 23-2030   Document: 00118129988   Page: 95   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2724
Case: 23-2030   Document: 00118129988   Page: 96   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2725
Case: 23-2030   Document: 00118129988   Page: 97   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2726
Case: 23-2030   Document: 00118129988   Page: 98   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2727
Case: 23-2030   Document: 00118129988   Page: 99   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2728
Case: 23-2030   Document: 00118129988   Page: 100   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2729
Case: 23-2030   Document: 00118129988   Page: 101   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2730
Case: 23-2030   Document: 00118129988   Page: 102   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2731
Case: 23-2030   Document: 00118129988   Page: 103   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2732
Case: 23-2030   Document: 00118129988   Page: 104   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2733
Case: 23-2030   Document: 00118129988   Page: 105   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2734
Case: 23-2030   Document: 00118129988   Page: 106   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2735
Case: 23-2030   Document: 00118129988   Page: 107   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2736
Case: 23-2030   Document: 00118129988   Page: 108   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2737
Case: 23-2030   Document: 00118129988   Page: 109   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2738
Case: 23-2030   Document: 00118129988   Page: 110   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2739
Case: 23-2030   Document: 00118129988   Page: 111   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2740
Case: 23-2030   Document: 00118129988   Page: 112   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2741
Case: 23-2030   Document: 00118129988   Page: 113   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2742
Case: 23-2030   Document: 00118129988   Page: 114   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2743
Case: 23-2030   Document: 00118129988   Page: 115   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2744
Case: 23-2030   Document: 00118129988   Page: 116   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2745
Case: 23-2030   Document: 00118129988   Page: 117   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2746
Case: 23-2030   Document: 00118129988   Page: 118   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2747
Case: 23-2030   Document: 00118129988   Page: 119   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2748
Case: 23-2030   Document: 00118129988   Page: 120   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2749
Case: 23-2030   Document: 00118129988   Page: 121   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2750
Case: 23-2030   Document: 00118129988   Page: 122   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2751
Case: 23-2030   Document: 00118129988   Page: 123   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2752
Case: 23-2030   Document: 00118129988   Page: 124   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2753
Case: 23-2030   Document: 00118129988   Page: 125   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2754
Case: 23-2030   Document: 00118129988   Page: 126   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2755
Case: 23-2030   Document: 00118129988   Page: 127   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2756
Case: 23-2030   Document: 00118129988   Page: 128   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2757
Case: 23-2030   Document: 00118129988   Page: 129   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2758
Case: 23-2030   Document: 00118129988   Page: 130   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2759
Case: 23-2030   Document: 00118129988   Page: 131   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2760
Case: 23-2030   Document: 00118129988   Page: 132   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2761
Case: 23-2030   Document: 00118129988   Page: 133   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2762
Case: 23-2030   Document: 00118129988   Page: 134   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2763
Case: 23-2030   Document: 00118129988   Page: 135   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2764
Case: 23-2030   Document: 00118129988   Page: 136   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2765
Case: 23-2030   Document: 00118129988   Page: 137   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2766
Case: 23-2030   Document: 00118129988   Page: 138   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2767
Case: 23-2030   Document: 00118129988   Page: 139   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2768
Case: 23-2030   Document: 00118129988   Page: 140   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2769
Case: 23-2030   Document: 00118129988   Page: 141   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2770
Case: 23-2030   Document: 00118129988   Page: 142   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2771
Case: 23-2030   Document: 00118129988   Page: 143   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2772
Case: 23-2030   Document: 00118129988   Page: 144   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2773
Case: 23-2030   Document: 00118129988   Page: 145   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2774
Case: 23-2030   Document: 00118129988   Page: 146   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2775
Case: 23-2030   Document: 00118129988   Page: 147   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2776
Case: 23-2030   Document: 00118129988   Page: 148   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2777
Case: 23-2030   Document: 00118129988   Page: 149   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2778
Case: 23-2030   Document: 00118129988   Page: 150   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2779
Case: 23-2030   Document: 00118129988   Page: 151   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2780
Case: 23-2030   Document: 00118129988   Page: 152   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2781
Case: 23-2030   Document: 00118129988   Page: 153   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2782
Case: 23-2030   Document: 00118129988   Page: 154   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2783
Case: 23-2030   Document: 00118129988   Page: 155   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2784
Case: 23-2030   Document: 00118129988   Page: 156   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2785
Case: 23-2030   Document: 00118129988   Page: 157   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2786
Case: 23-2030   Document: 00118129988   Page: 158   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2787
Case: 23-2030   Document: 00118129988   Page: 159   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2788
Case: 23-2030   Document: 00118129988   Page: 160   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2789
Case: 23-2030   Document: 00118129988   Page: 161   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2790
Case: 23-2030   Document: 00118129988   Page: 162   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2791
Case: 23-2030   Document: 00118129988   Page: 163   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2792
Case: 23-2030   Document: 00118129988   Page: 164   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2793
Case: 23-2030   Document: 00118129988   Page: 165   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2794
Case: 23-2030   Document: 00118129988   Page: 166   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2795
Case: 23-2030   Document: 00118129988   Page: 167   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2796
Case: 23-2030   Document: 00118129988   Page: 168   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2797
Case: 23-2030   Document: 00118129988   Page: 169   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2798
Case: 23-2030   Document: 00118129988   Page: 170   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2799
Case: 23-2030   Document: 00118129988   Page: 171   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2800
Case: 23-2030   Document: 00118129988   Page: 172   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2801
Case: 23-2030   Document: 00118129988   Page: 173   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2802
Case: 23-2030   Document: 00118129988   Page: 174   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2803
Case: 23-2030   Document: 00118129988   Page: 175   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2804
Case: 23-2030   Document: 00118129988   Page: 176   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2805
Case: 23-2030   Document: 00118129988   Page: 177   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2806
Case: 23-2030   Document: 00118129988   Page: 178   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2807
Case: 23-2030   Document: 00118129988   Page: 179   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2808
Case: 23-2030   Document: 00118129988   Page: 180   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2809
Case: 23-2030   Document: 00118129988   Page: 181   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2810
Case: 23-2030   Document: 00118129988   Page: 182   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2811
Case: 23-2030   Document: 00118129988   Page: 183   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2812
Case: 23-2030   Document: 00118129988   Page: 184   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2813
Case: 23-2030   Document: 00118129988   Page: 185   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2814
Case: 23-2030   Document: 00118129988   Page: 186   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2815
Case: 23-2030   Document: 00118129988   Page: 187   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2816
Case: 23-2030   Document: 00118129988   Page: 188   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2817
Case: 23-2030   Document: 00118129988   Page: 189   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2818
Case: 23-2030   Document: 00118129988   Page: 190   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2819
Case: 23-2030   Document: 00118129988   Page: 191   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2820
Case: 23-2030   Document: 00118129988   Page: 192   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2821
Case: 23-2030   Document: 00118129988   Page: 193   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2822
Case: 23-2030   Document: 00118129988   Page: 194   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2823
Case: 23-2030   Document: 00118129988   Page: 195   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2824
Case: 23-2030   Document: 00118129988   Page: 196   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2825
Case: 23-2030   Document: 00118129988   Page: 197   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2826
Case: 23-2030   Document: 00118129988   Page: 198   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2827
Case: 23-2030   Document: 00118129988   Page: 199   Date Filed: 04/08/2024   Entry ID: 6634402
Case: 23-2030   Document: 00118129988   Page: 200   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2829
Case: 23-2030   Document: 00118129988   Page: 201   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2830
Case: 23-2030   Document: 00118129988   Page: 202   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2831
Case: 23-2030   Document: 00118129988   Page: 203   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2832
Case: 23-2030   Document: 00118129988   Page: 204   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2833
Case: 23-2030   Document: 00118129988   Page: 205   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2834
Case: 23-2030   Document: 00118129988   Page: 206   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2835
Case: 23-2030   Document: 00118129988   Page: 207   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2836
Case: 23-2030   Document: 00118129988   Page: 208   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2837
Case: 23-2030   Document: 00118129988   Page: 209   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2838
Case: 23-2030   Document: 00118129988   Page: 210   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2839
Case: 23-2030   Document: 00118129988   Page: 211   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2840
Case: 23-2030   Document: 00118129988   Page: 212   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2841
Case: 23-2030   Document: 00118129988   Page: 213   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2842
Case: 23-2030   Document: 00118129988   Page: 214   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2843
Case: 23-2030   Document: 00118129988   Page: 215   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2844
Case: 23-2030   Document: 00118129988   Page: 216   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2845
Case: 23-2030   Document: 00118129988   Page: 217   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2846
Case: 23-2030   Document: 00118129988   Page: 218   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2847
Case: 23-2030   Document: 00118129988   Page: 219   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2848
Case: 23-2030   Document: 00118129988   Page: 220   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2849
Case: 23-2030   Document: 00118129988   Page: 221   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2850
Case: 23-2030   Document: 00118129988   Page: 222   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2851
Case: 23-2030   Document: 00118129988   Page: 223   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2852
Case: 23-2030   Document: 00118129988   Page: 224   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2853
Case: 23-2030   Document: 00118129988   Page: 225   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2854
Case: 23-2030   Document: 00118129988   Page: 226   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2855
Case: 23-2030   Document: 00118129988   Page: 227   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2856
Case: 23-2030   Document: 00118129988   Page: 228   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2857
Case: 23-2030   Document: 00118129988   Page: 229   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2858
Case: 23-2030   Document: 00118129988   Page: 230   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2859
Case: 23-2030   Document: 00118129988   Page: 231   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2860
Case: 23-2030   Document: 00118129988   Page: 232   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2861
Case: 23-2030   Document: 00118129988   Page: 233   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2862
Case: 23-2030   Document: 00118129988   Page: 234   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2863
Case: 23-2030   Document: 00118129988   Page: 235   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2864
Case: 23-2030   Document: 00118129988   Page: 236   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2865
Case: 23-2030   Document: 00118129988   Page: 237   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2866
Case: 23-2030   Document: 00118129988   Page: 238   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2867
Case: 23-2030   Document: 00118129988   Page: 239   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2868
Case: 23-2030   Document: 00118129988   Page: 240   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2869
Case: 23-2030   Document: 00118129988   Page: 241   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2870
Case: 23-2030   Document: 00118129988   Page: 242   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2871
Case: 23-2030   Document: 00118129988   Page: 243   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2872
Case: 23-2030   Document: 00118129988   Page: 244   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2873
Case: 23-2030   Document: 00118129988   Page: 245   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2874
Case: 23-2030   Document: 00118129988   Page: 246   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2875
Case: 23-2030   Document: 00118129988   Page: 247   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2876
Case: 23-2030   Document: 00118129988   Page: 248   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2877
Case: 23-2030   Document: 00118129988   Page: 249   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2878
Case: 23-2030   Document: 00118129988   Page: 250   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2879
Case: 23-2030   Document: 00118129988   Page: 251   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2880
Case: 23-2030   Document: 00118129988   Page: 252   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2881
Case: 23-2030   Document: 00118129988   Page: 253   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2882
Case: 23-2030   Document: 00118129988   Page: 254   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2883
Case: 23-2030   Document: 00118129988   Page: 255   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2884
Case: 23-2030   Document: 00118129988   Page: 256   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2885
Case: 23-2030   Document: 00118129988   Page: 257   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2886
Case: 23-2030   Document: 00118129988   Page: 258   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2887
Case: 23-2030   Document: 00118129988   Page: 259   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2888
Case: 23-2030   Document: 00118129988   Page: 260   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2889
Case: 23-2030   Document: 00118129988   Page: 261   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2890
Case: 23-2030   Document: 00118129988   Page: 262   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2891
Case: 23-2030   Document: 00118129988   Page: 263   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2892
Case: 23-2030   Document: 00118129988   Page: 264   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2893
Case: 23-2030   Document: 00118129988   Page: 265   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2894
Case: 23-2030   Document: 00118129988   Page: 266   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2895
Case: 23-2030   Document: 00118129988   Page: 267   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2896
Case: 23-2030   Document: 00118129988   Page: 268   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2897
Case: 23-2030   Document: 00118129988   Page: 269   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2898
Case: 23-2030   Document: 00118129988   Page: 270   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2899
Case: 23-2030   Document: 00118129988   Page: 271   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2900
Case: 23-2030   Document: 00118129988   Page: 272   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2901
Case: 23-2030   Document: 00118129988   Page: 273   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2902
Case: 23-2030   Document: 00118129988   Page: 274   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2903
Case: 23-2030   Document: 00118129988   Page: 275   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2904
Case: 23-2030   Document: 00118129988   Page: 276   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2905
Case: 23-2030   Document: 00118129988   Page: 277   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2906
Case: 23-2030   Document: 00118129988   Page: 278   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2907
Case: 23-2030   Document: 00118129988   Page: 279   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2908
Case: 23-2030   Document: 00118129988   Page: 280   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2909
Case: 23-2030   Document: 00118129988   Page: 281   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2910
Case: 23-2030   Document: 00118129988   Page: 282   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2911
Case: 23-2030   Document: 00118129988   Page: 283   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2912
Case: 23-2030   Document: 00118129988   Page: 284   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2913
Case: 23-2030   Document: 00118129988   Page: 285   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2914
Case: 23-2030   Document: 00118129988   Page: 286   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2915
Case: 23-2030   Document: 00118129988   Page: 287   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2916
Case: 23-2030   Document: 00118129988   Page: 288   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2917
Case: 23-2030   Document: 00118129988   Page: 289   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2918
Case: 23-2030   Document: 00118129988   Page: 290   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2919
Case: 23-2030   Document: 00118129988   Page: 291   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2920
Case: 23-2030   Document: 00118129988   Page: 292   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2921
Case: 23-2030   Document: 00118129988   Page: 293   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2922
Case: 23-2030   Document: 00118129988   Page: 294   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2923
Case: 23-2030   Document: 00118129988   Page: 295   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2924
Case: 23-2030   Document: 00118129988   Page: 296   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2925
Case: 23-2030   Document: 00118129988   Page: 297   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2926
Case: 23-2030   Document: 00118129988   Page: 298   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2927
Case: 23-2030   Document: 00118129988   Page: 299   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2928
Case: 23-2030   Document: 00118129988   Page: 300   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2929
Case: 23-2030   Document: 00118129988   Page: 301   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2930
Case: 23-2030   Document: 00118129988   Page: 302   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2931
Case: 23-2030   Document: 00118129988   Page: 303   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2932
Case: 23-2030   Document: 00118129988   Page: 304   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2933
Case: 23-2030   Document: 00118129988   Page: 305   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2934
Case: 23-2030   Document: 00118129988   Page: 306   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2935
Case: 23-2030   Document: 00118129988   Page: 307   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2936
Case: 23-2030   Document: 00118129988   Page: 308   Date Filed: 04/08/2024   Entry ID: 6634402
                                                                                                 JA2937
Case: 23-2030   Document: 00118129988   Page: 309   Date Filed: 04/08/2024   Entry ID: 6634402
                                                                                                 JA2938
Case: 23-2030   Document: 00118129988   Page: 310   Date Filed: 04/08/2024   Entry ID: 6634402
                                                                                                 JA2939
Case: 23-2030   Document: 00118129988   Page: 311   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000030


                                         JA2940
Case: 23-2030   Document: 00118129988   Page: 312   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000031


                                         JA2941
Case: 23-2030   Document: 00118129988   Page: 313   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000032


                                         JA2942
Case: 23-2030   Document: 00118129988   Page: 314   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000035


                                         JA2943
Case: 23-2030   Document: 00118129988   Page: 315   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000036


                                         JA2944
Case: 23-2030   Document: 00118129988   Page: 316   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                    PPD_MENNINGER 000037


                                         JA2945
Case: 23-2030   Document: 00118129988   Page: 317   Date Filed: 04/08/2024   Entry ID: 6634402
Case: 23-2030   Document: 00118129988   Page: 318   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2947
Case: 23-2030   Document: 00118129988   Page: 319   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2948
Case: 23-2030   Document: 00118129988   Page: 320   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2949
Case: 23-2030   Document: 00118129988   Page: 321   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2950
Case: 23-2030   Document: 00118129988   Page: 322   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2951
Case: 23-2030   Document: 00118129988   Page: 323   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2952
Case: 23-2030   Document: 00118129988   Page: 324   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2953
Case: 23-2030   Document: 00118129988   Page: 325   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2954
Case: 23-2030   Document: 00118129988   Page: 326   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2955
Case: 23-2030   Document: 00118129988   Page: 327   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2956
Case: 23-2030   Document: 00118129988   Page: 328   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2957
Case: 23-2030   Document: 00118129988   Page: 329   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2958
Case: 23-2030   Document: 00118129988   Page: 330   Date Filed: 04/08/2024   Entry ID: 6634402
                                                                                                 JA2959
Case: 23-2030   Document: 00118129988   Page: 331   Date Filed: 04/08/2024   Entry ID: 6634402
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Case: 23-2030   Document: 00118129988   Page: 332   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000423


                                         JA2961
Case: 23-2030   Document: 00118129988   Page: 333   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000424


                                         JA2962
Case: 23-2030   Document: 00118129988   Page: 334   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000425


                                         JA2963
Case: 23-2030   Document: 00118129988   Page: 335   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000426


                                         JA2964
Case: 23-2030   Document: 00118129988   Page: 336   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000427


                                         JA2965
Case: 23-2030   Document: 00118129988   Page: 337   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000428


                                         JA2966
Case: 23-2030   Document: 00118129988   Page: 338   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000429


                                         JA2967
Case: 23-2030   Document: 00118129988   Page: 339   Date Filed: 04/08/2024   Entry ID: 6634402




                                                                         MENNINGER000430


                                         JA2968
Case: 23-2030   Document: 00118129988   Page: 340   Date Filed: 04/08/2024   Entry ID: 6634402
Case: 23-2030   Document: 00118129988   Page: 341   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2970
Case: 23-2030   Document: 00118129988   Page: 342   Date Filed: 04/08/2024   Entry ID: 6634402




                                         JA2971
Case: 23-2030 Case
               Document: 00118129988 Document
                   1:19-cv-11441-LTS   Page: 343
                                               195 Date
                                                   Filed Filed: 04/08/2024
                                                         11/29/23             Entry ID: 6634402
                                                                    Page 1 of 3



                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


        LISA MENNINGER,


                               Plaintiff,

                                                             Civil Action No. 1:19-CV-11441-LTS
        v.


        PPD DEVELOPMENT, L.P.,

                               Defendant.


                                            NOTICE OF APPEAL

             Notice is hereby given that Defendant PPD Development, L.P. (“PPD”) in the above-

      captioned matter hereby appeals to the United States Court of Appeals for the First Circuit from the

      Judgment entered in this action by the District Court on May 12, 2023 (Dkt. 170) in favor of

      Plaintiff Lisa Menninger and adverse to PPD; from the Order denying PPD’s Motions for Judgment

      as a Matter of Law and for New Trial or Remittitur (Dkt. 193); from the Order denying-in-part

      PPD’s Motion for Summary Judgment (Dkt. 81); and from any and all underlying and/or

      interlocutory orders, findings, determinations, conclusions, opinions, or decisions that merge

      therein or are pertinent or ancillary to the foregoing, including without limitation: the Court’s Jury

      Instructions and Verdict Form and orders on objections to the same; and from any and all related

      adverse Orders, rulings, and judgments.

             This Notice of Appeal is filed with payment of the required $505.00 fee. This fee includes

      the $500.00 fee for docketing a case on appeal and $5.00 fee for filing a notice of appeal as

      required by 28 U.S.C. §§ 1913 and 1917, and Federal Rule of Appellate Procedure 3(e).




                                                       -1-
                                                    JA2972
Case: 23-2030 Case
               Document: 00118129988 Document
                   1:19-cv-11441-LTS   Page: 344
                                               195 Date
                                                   Filed Filed: 04/08/2024
                                                         11/29/23             Entry ID: 6634402
                                                                    Page 2 of 3



      Dated: November 29, 2023               /s/ Douglas H. Hallward-Driemeier
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                                             -2-
                                           JA2973
Case: 23-2030 Case
               Document: 00118129988 Document
                   1:19-cv-11441-LTS   Page: 345
                                               195 Date
                                                   Filed Filed: 04/08/2024
                                                         11/29/23             Entry ID: 6634402
                                                                    Page 3 of 3



                                     CERTIFICATE OF SERVICE
              I hereby certify that a copy of this document filed through the Electronic Case Filing

       (“ECF”) system on November 29, 2023 will be sent electronically to the registered participants

       as identified on the Notice of Electronic Filing.



                                                    /s/ Douglas H. Hallward-Driemeier
                                                    Douglas H. Hallward-Driemeier




                                                       -3-
                                                    JA2974
Case: 23-2030     Document: 00118129988    Page: 346     Date Filed: 04/08/2024   Entry ID: 6634402




                                CERTIFICATE OF SERVICE

                I hereby certify that on April 8, 2024, a copy of the foregoing was

       electronically filed with the United States Court of Appeals for the First Circuit by

       using the Court’s CM/ECF system and will be sent electronically to the registered

       participants.



        Dated: April 8, 2024                 /s/ Douglas Hallward-Driemeier
                                             Attorney

                                             Attorney for Defendant-
                                             Appellant PPD Development,
                                             L.P.
